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Ordell Elizabeth Moon
1905 Bristol St.
Petaluma, CA 94954




                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


In re                                              Case No. 5:23-cv-04521-PCP
ORDELL ELIZABETH MOON
                                                   BK Case No. 23-10092 DM 13
Appellant/Debtor,                                  NOTICE OF MOTION AND MOTION IN
                                                   INDIVIDUAL CASE FOR ORDER TO
                                                   CONTINUE THE AUTOMATIC STAY
vs.                                                IN BK CASE #23-10092 DM 13 AS THE
                                                   COURT DEEMS APPROPRIATE

CITIBANK N.A., DEUTSCHE BANK                       Date:
NATIONAL TRUST et al.                              Time:
                                                   Courtroom:
Appellees.
__________________________________/

TO THE HONORABLE JUDGE AND ALL PARTIES OF INTEREST:

COMES NOW the Appellant/Debtor, Ordell Elizabeth Moon, through her Authorized
Representative, Don Shannon (hereinafter “AR”), who relies upon Haines v. Kerner,
1972, 404 U.S. 519 in the above-captioned matter, to give notice that Appellant,
pursuant to Haines v. Kerner, hereby serves this courtesy notice and state:

1.     NOTICE IS HEREBY GIVEN to (Secured Creditor/Lessor),trustee (if any), and
affected creditors (Responding Parties), their attorneys (if any), and other interested
parties that have appeared in the matter of Bankruptcy Case #23-10092 DM 13 that on
the above date and time and in the United States District Court for the Northern District
of California, pursuant to Bankruptcy Rule 8007 (b) Appellant/Debtor (hereinafter
”Appellant”) in the above-captioned matter will move this honorable court for an order
continuing the automatic stay as to certain creditors and actions described in the motion
on the grounds set forth in the attached motion.

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2.     This motion is being heard as soon as possible under the doctrine of imperative
necessity as the court can set the hearing. If you wish to oppose this motion, you must
file a written response to this motion with the court and serve a copy of it upon the
Appellant's AR at the address set forth above no less than 14 days before the above
hearing and appear at the hearing of this motion or zoom hearing if available.

3. You may be able to contact the USDC Clerk’s Office or use the court’s website to
obtain a copy of an approved court form for use in preparing your response or you may
prepare your response using the format required by FRCP Rule 10 and the Court
Manual.


4. If you fail to file a written response to the motion or fail to appear at the hearing, the
court may treat such failure as a waiver of your right to oppose the Motion and may
grant the requested relief

Dated: October 24, 2023
                                                   ________________________________
                                                   Don Shannon, Authorized
                                                   Representative for Appellant




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MOTION FOR ORDER IMPOSING A STAY OR CONTINUING THE AUTOMATIC STAY
                AS THE COURT DEEMS APPROPRIATE


        Appellant, Ordell Elizabeth Moon, through said AR, who relies upon Haines v.
Kerner, 1972, 404 U.S. 519 in the above-captioned matter, to give notice that
Appellant, pursuant to Haines v. Kerner, moves the court for an order continuing
existing stay with respect to the property located at 1905 Bristol St., Petaluma,
California, APN #136-580-029.


1.      Two purported creditor(s) have claimed unproven security interest in this
Property and have filed such claims in the public repository of Sonoma county in
apparent violation of California Corporation Code 107, Civil Code 1478, Penal Code 648
in light of Title 12 U.S.C. 411 as detailed in Appellant’s Objections to Proof of Claims for
each purported creditors:

1. Party: Citibank, N.A.                   2. Party: Deutsche Bank National Trust Company
Attorney: Nathan F. Smith                  Attorney: Fanny Zhang Wan
Malcolm Cisneros, A Law Corp.             Robertson, Anschutz, Schneid & Crane LLP
Attn: Nathan F. Smith                     Attn: Fanny Zhang Wan
2112 Business Center Drive, 2nd Fl,       350 10th Ave., Suite 1000
Irvine, California 92612                  San Diego, CA 92101
(949) 252-9400                            (470) 321-7112

Appellant therefore moves for an order continuing the automatic stay as to all creditors.
2.      Case History: Appellant filed a voluntary Chapter 13 petition on February 28,
2023.

        a. There are no other bankruptcy cases filed by or against this Appellant pending
        within the past year preceding the petition date in this case.
        b. As of the date of this motion the Appellant has had at least three (3) 341
        Meetings of Creditors.
3.      Appellant from the beginning challenged the lawfulness of purported creditors
proof of claims by filing Objections to said proof of claims of said creditors which
objections were both denied by the Honorable Dennis Montali, Bankruptcy Judge who
subsequently issued an order dismissing case on August 9, 2023.


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4.      Grounds for Continuing The Stay:
Pursuant to the Fifth Amendment and the Fourteenth Amendment’s guarantee to the full
due process of law, Appellant believes the right to full disclosure of all the terms and
conditions pertaining to purported creditors’ claim of right to subject property particularly
evidence of actual delivery of a thing of value to Appellant prior to or right after Appellant
executed original loan documents has been denied to Appellant by said creditors in
apparent violation of Truth In Lending Act (TILA), and Real estate Settlement Procedure
Agreement (RESPA), Regulation Z - 12 CFR § 226.17(c)(1) among other laws enacted
to protect the rights of the people from corporate greed, extortion and other rapacious
activities.

5.      The present case was filed in good faith by Appellant in pursuit of the truth
surrounding the original loan of money as the issue of medium of exchange is probative
and fundamental to the viability of any valid contract. Disclosure of all terms and
conditions governing said contract is both reasonable and requisite pursuant to the
constitutionally secured right to full due process of law, good faith and fair dealing,
which are etched in the bedrock of American Jurisprudence.

6.      Appellant in the August 9, 2023 hearing made an offer to settle any purported
claim of any creditor. Said offer was met with silence from the Appellees’ counsels as
well as the court as the disinterested arbiter. However the court issued it’s Order
Dismissing Case on August 9, 2023 right after the hearing on the same day.

7.      On August 31, 2023 Appellant initially filed a motion to continue automatic stay in
bankruptcy court but on September 5, 2023 Judge Montali denied such request citing
he had no jurisdiction to grant such an order in spite of Bankruptcy Rule 8007(a) which
necessitated the filing of this instant motion pursuant to BK Rule 8007(b) (2)(B). A copy
of the bankruptcy order denying request for stay is attached and incorporated herein as
fully reproduced and as part of this motion.

Stay is essential to the Homestead Rights of Appellant

8.      Appellant through AR maintains that a stay is critical to Appellant who is an
American citizen, in her ninth decade of life, a mother, a wife, a grandmother, feeble,

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bedridden and just hanging on for dear life. The arbitrary uprooting Appellant from her
homestead will be devastating and more than likely will be fatal to her life, AR is afraid
to say. Again, Appellant’s life is in imminent danger as she is faced with the prospect of
becoming homeless (due to your failure Judge to grant the automatic stay) and the
stress from this pending matter is continuously causing serious harm to her health.

9.     Given the silence on the part of Appellees and Counsel for Appellees to
Appellant’s offer to settle in a medium of exchange of like kind consistent with current
federal public policy, law and the custom of merchants, Appellant in good faith did
tender to said Appellees’ CFOs a draft to settle any and all claims dated
and received on September 14/15, 2023 as reflected in the attached copy of
International Promissory Note and registered mail receipts. More than thirty (30) days
have passed, and Appellees have not refused such tender. Pursuant to UCC 3-603(b)
acceptance and settlement has been perfected by operation of law. A copy of said
drafts and proof of delivery dates are attached herein and made a part of this motion for
stay. As such, Appellant contends that each Appellees’ claim of right is now settled as a
matter of law and can now suffer no economic harm if the stay is granted.

10.    Further if any bond is required to support the appellate process, Appellant
extends this offer to cover any such bond in a medium of exchange consistent with
current federal public policy, law and custom.

                                        Conclusion
       WHEREFORE, Appellant prays that this court issues an Order that the Automatic
Stay be continued in effect as to all appellees until further order of the court.

       For other relief requested as the court deems just and proper.


Respectfully submitted.


Dated: October 24, 2023
                                           ____________________________________
                                           Don Shannon, Authorized Representative for
                                           Appellant

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                 DECLARATION OF APPELLANT BY AR UNDER POA
       I, Don Shannon, as the Authorized Representative (AR) of the Appellant under a
POA. I have read the foregoing motion consisting of eight pages, and the attached
materials incorporated therein by reference.

       That I state on the record and for the record that Appellant is the mother-in-law of
AR.

       That Appellant is an aged woman in her ninth decade of living, she is a widow,
mother, grandmother, bedridden, feeble, suffers from dementia, and needs around the
clock care.

       That Appellant is a victim of circumstances beyond her control or ability to alter
given her age and condition.

       That Appellant’s homestead is all that she possesses of value.

       That uprooting Appellant from her homestead will be devastating and I fear will
destroy her and those that care for her.

       That Appellant in good faith tendered a draft to settle Appellees’ claims which
were received by Appellees’ CFO’s on September 15, 2023 and September 14, 2023
respectively and have not been refused.

       That UCC 3-603(b) provides that an instrument tendered and received by party
having right to dispute upon receipt of said tender and does not refuse said tender,
constitutes acceptance and settlement of the existing obligation by operation of law.

       I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

Dated: October 24, 2023
                                            ________________________________
                                            Don Shannon, AR for Appellant




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                               Declaration of Service

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
My business address is:
A true and correct copy of the foregoing document entitled:
NOTICE OF MOTION AND MOTION IN INDIVIDUAL CASE FOR ORDER IMPOSING A STAY
OR CONTINUING THE AUTOMATIC STAY AS THE COURT DEEMS APPROPRIATE (with
supporting declarations) will be served or was served (a) on the judge in chambers and by
registered mail.


SERVED BY UNITED STATES MAIL: On _____________________, I served the following
persons and/or entities at the last known addresses in this bankruptcy case by placing a true
and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows.
                              1. Party: Citibank, N.A.
                              Attorney: Nathan Frederick Jones Smith
                              Malcolm Cisneros, A Law Corp.
                              Attn: Nathan F. Smith
                              2112 Business Center Drive, 2nd Fl,
                              Irvine, California 92612
                              (949) 252-9400

                              2. Party: Deutsche Bank National Trust Company
                              Attorney: Fanny Zhang Wan
                              Robertson, Anschutz, Schneid & Crane LLP
                              Attn: Fanny Zhang Wan
                              350 10th Ave., Suite 1000
                              San Diego, CA 92101
                              (470) 321-7112



I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.


Date: October 24, 2023
                                     ______________________________________________
                                     Don Shannon, Authorized Representative of Appellant



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Case 5:23-cv-04521-PCP  Document
                  Attachment       12 Filed 10/24/23 Page 8 of 13
                             Citibank
9/22/23, 7:50 AM      Case 5:23-cv-04521-PCP Document   12- USPS
                                                USPS.com®     Filed  10/24/23
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   USPS Tracking
                                           ®                                                               FAQs 




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   Tracking Number:

   RE947066931US
          Copy           Add to Informed Delivery (https://informeddelivery.usps.com/)




         Latest Update
         Your item was delivered to the front desk, reception area, or mail room at 2:47 pm on September 15,
         2023 in NEW YORK, NY 10013.


          Delivered




                                                                                                                Feedback
          Delivered, Front Desk/Reception/Mail Room
          NEW YORK, NY 10013
          September 15, 2023, 2:47 pm


          Redelivery Scheduled for Next Business Day
          NEW YORK, NY 10013
          September 14, 2023, 6:54 pm


          Arrived at Post Office
          NEW YORK, NY 10013
          September 14, 2023, 2:53 pm


          Arrived at USPS Facility
          NEW YORK, NY 10199
          September 13, 2023, 11:20 pm


          Departed USPS Facility
          JAMAICA, NY 11430
          September 12, 2023, 8:40 pm


          Arrived at USPS Facility
          JAMAICA, NY 11430
          September 12, 2023, 6:02 pm


          Departed USPS Facility
https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=RE947066931US%2C                   1/3
9/22/23, 7:50 AM     Case 5:23-cv-04521-PCP Document  12- USPS
                                               USPS.com®   Filed  10/24/23
                                                               Tracking® Results Page 10 of 13

          SAN FRANCISCO, CA 94188
          September 11, 2023, 12:57 am


          Arrived at USPS Regional Origin Facility
          SAN FRANCISCO CA DISTRIBUTION CENTER
          September 10, 2023, 4:00 am


          Departed USPS Facility
          OAKLAND, CA 94615
          September 9, 2023, 9:06 pm


          Arrived at USPS Facility
          OAKLAND, CA 94615
          September 9, 2023, 9:03 pm


          Arrived at USPS Origin Facility
          VALLEJO, CA 94590
          September 9, 2023, 1:39 pm


          USPS in possession of item
          VALLEJO, CA 94590
          September 9, 2023, 11:39 am


          Hide Tracking History



     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


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       Text & Email Updates


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       Product Information


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   Track Another Package

     Enter tracking or barcode numbers




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                                  Contact USPS Tracking support for further assistance.
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                  Attachment
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